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1Fo.m'sv 93-
IN THE UNITED sTATEs DISTRICT cOURT
FoR THE WESTERN DisTRiCT oF TENNESSE§§ Jm_ 13 pg 31 55

WESTERN DIVISION
MWWM
United States of America, V\'_li_i 055 §N iiil'.i\ipi'is
Plaintiff,
VS. Civil NO. O4-2195-Ml P

One 2001 Lexus LS430,
VIN JTHBN30F310040654,with All
Appurtenances and Attachments Thereon,

One 1997 Chevrolet Corvet:te,
V]N lGlYY22G5V5104598, with All
Appurtenances and Attachments Thereon,

One 1999 Dodge Ram Van,
VIN 2B6HB11Z9XK584802, with All
Appurtenances and Attachments Thereon,

Defendants.

 

ORDER GRANTING GOVERNMENT’S MOTION TO DISMISS COMPLAIN'I`

 

Before the Court is the government’s motion to dismiss the Verit'led Cornplaint of Fort`eiture
in this case as moot. This case was previously stayed on the government’s motion because of the
related criminal case of United States v. Eric Brown. et al. No. 03-20169»B. As it now appears that
not only has that case been resolved, but it has also resulted in the forfeiture of the defendant

properties, this action is now moot.

Thts document entered on the docket sheet in compliance
with Rule 58 endlor TQ(a) FF\CP on “ '

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Therefore, upon motion of the United States, the complaint in the above-styled case is

DISMISSED.

IT ls ORDERED, this ix day of

   

 

.TO P. McCALLA
lted States District Judge

APPROVED:

TERRELL L. HARRIS
United States Attorney

/;/MW

QHRJSTOPHER E. CoTTEN
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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
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Honorable J on McCalla
US DISTRICT COURT

